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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 MONICA ANN DOERNER,                         )
                                             )
                            Plaintiff,       )
                                             )
                       v.                    )    No. 1:20-cv-00902-JPH-TAB
                                             )
 ANDREW M. SAUL Commissioner of              )
 Social Security Administration,             )
                                             )
                            Defendant.       )

                  ORDER ON AGREED MOTION TO REMAND

       The parties have filed an agreed motion for remand for further

 proceedings under sentence four of 42 U.S.C. § 405(g). Dkt. [17]. For the

 reasons in the motion, that motion is GRANTED. The Court reverses the

 Commissioner’s decision and remands the case to the Commissioner for

 further administrative proceedings. See 42 U.S.C. § 405(g). On remand, the

 Administrative Law Judge will allow Plaintiff a new hearing; evaluate Plaintiff's

 medical and other evidence; and determine whether she could perform her past

 relevant work or work that existed in the national economy, consistent with

 Agency regulations.

       The Court will issue judgment accordingly.

 SO ORDERED.

 Date: 10/30/2020




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